Case 2:18-0v-O4925-l\/|LCF Document 1 Filed 05/16/18 Page 1 of 7

FOR|V| TO BE USED BY A PR|SONER lN FlL|NG A COMPLA|NT
UNDER THE C|V|L RIGHTS ACT, 42 U.S.C. §1983

UN|TED STATES D|STR|CT COURT
EASTERN D|STRICT OF LOUlS|ANA

P\lCi\cLl“fl Co@tl_l, EGO§ 3`& civlL AchoN

Print the full name (t“lrst - middle - last) and ;- ` _.'-'“‘ "L'
prisoner number nrthe plaintiff in this action 1 m 9 3
3 No.

1 hi loc‘?§i
versus / SECTiON
/_. lists D@E ND,P oilccuosius ' vii = '
BADQE l\l@/Oo€>'\'.’( 54 warn SE'{" .°i-MAG’Z
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3, joan Qoall HO. WI/O 3c1 Ut$r“
'i€ FF>M Dr£{/§/r€ior-"r: wharf

 

 

 

Print the full name of all defendants in this
action.
DO NOT WR|TE et a.'.

COl\/lPLAiNT
|. Previous Lawsui’£s
A. Have you begun other lawsuits in state or federal court dealing with the same facts involved
in this action or otherwise relating to your imprisonment?
Yes ( ) No QQ
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_` U,S. DlS_TR_lCT COURT __n_ Prot:e}$_s_,...m....,._
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_, _h__ Doc. No.

 

Case 2:18-0v-O4925-l\/|LCF Document 1 Filed 05/16/18 Page 2 of 7

lf your answer to A is “yes", describe the lawsuit in the space below (lf there is more than
one |awsuit, describe the additional lawsuits on another piece of paper, using the same
butiine_)

 

 

 

 

 

 

 

 

1. Parties to the previous lawsuit
Piainuifs A/c‘/M f 53 6 /?i,L-f€\c"§ .F£~
/7
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Deferidants ‘
2. Court (lf federa`court, nam ofthe district court; if state court, name the parish.)
3. Docket Number ,3" "i Z\ *f”i §
4. Narne ofjudge to whom case was assigned
5. Disposition (For examp|e: Was this case dismissed? Was it appealed? ls it stiii

pending?) 035-mt 5';€0
N/P( [S)Loom”\“j R§ \"‘-€37.\[/3) Coo\d'l`$ i)\$ \D'l,_Z-l&)
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ff

 

6. g Appro><imate date offlling lawsuit < .f\/\!"T` HE/V?é»'i /'3 é_=/£\

7. Appro><imate date of disposition Cfl ¢»’\7 pt Ef"`l E r”i E/°
Have you had any previously filed federal lawsuits or appeals, whether or not related to the
issues raised in this complaintl which have been dismissed as frivolous, malicious, or for
failure to state a claim for which r lief can be granted by any federal court?

Yes( ) NO( ) le\rd'i" EMEMBEN

lf your answer is "yes"l list the civil action numbers and the disposition of each case. You
also must identify in which federal district or appellate court the action was brought

 

 

 

u. Pl_AcE OF PREsENT coNFiNEMENT: 0 pt 116 F\ r\i 5 P¢>i r°~\\ 5 iri t?iltt § o id

A.

ls there a prisoner grievance procedure in this institution?
Yes (/} No (

Did you present the facts relating to this complaint in the prisoner grievance procedure? Yes

()NO}>Q

lf your answer is “yes",

1. Attach a copy of all administrative complaints you have filed regarding the claims
raised in this lawsuit and copies of ali prison responses |f copies are not available,
list the numberassigned to the complaint(s) and approximate date it was presented
to the prison.

Case 2:18-0v-O4925-l\/|LCF Document 1 Filed 05/16/18 Page 3 of 7

 

2. As to each grievance compliant provided or listed abovel have you xhausted or
completed all steps in the procedurel including appeals? Ft
D. lf your answer is NO, explain why you have not done so:
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lll_ Parties

(ln item A below, complete the following information Do the same for additional plaintiffsl if any.)

A_ run Narne or Piainiiff L 6 ..,t
(Firsi-Midriie-Lasi) R\C_,\"\C\l`€- C\\ \E’:,CBC`) 5 -`) ?\,

Prisoner Number Q"MOLOY\Z' 6

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oaieofairtn /.//fl'r //Gil'»/ /BLVD'A/O'LA` ?
Date of Arrest 3]% S:/ZO { by

Date of Conviction /L///Ar

 

Case 2:18-0v-O4925-l\/|LCF Document 1 Filed 05/16/18 Page 4 of 7

, /\
||i. A. (COntini_zed) - ADD|TIONAL PLA|NT|FFS |n Re: A“ /"“
i

_,_, (Cornpleta the information below for each additional plaintiffl Each additional plaintiff must read plaintiffs declaration
below and personally sign.)

Plaintiff's Dec|aration

1)

4}

| deciare under penalty of perjury that all facts represented in this complaint and any attachments hereto are
true and correct.

l understand that if l arn released or transferred it is my responsibility to keep the Court informed of my
whereabouts and failure to do so may result in this action being dismissed with prejudice

l understand that l am prohibited from bringing a civil action in forma pauperis if l have brought three or more
civil actions in a court of the United States while incarcerated or detained in any facility that were dismissed
on the grounds that they were frivolous, malicious, or failed to state a claim upon which relief may be
granted, unless l arn under imminent danger of serious physical injury.

l understand that even if l am allowed to proceed in forma pauperis, l am responsible for paying the entire

$400.00 filing fee and any costs assessed by the Court, which shall be deducted from my inmate account by
my custodian in installment payments as prescribed by iaw.

Fuii Name of Plaintiff t n y _ _ _ ,
(First-Middie- Last} P\'\C lr\;>i 93 fn iii [_ t_EtL-\C' `3 _j f.-

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Date of Arrest 3 “' /'.5';- '“Z`C ’i §“:)

Date of Conviction /i_//ki /),Cc? "/':/Q/A r'.’..

Signature A]_{(‘»A/Yg V<i:»»{Z/¢,,.P/t_/ f,l/\; ,

Fuii Name of Plaintlff
iFir_=,t - Middie - Lasti

 

Prisoner Number
Address

Date of Birth
Date of Arrest

 

 

 

 

Date of Conviction

 

Signature

Full Name of Plalntiff
(First ~ Midd|e - Lastl

Prisoner Number
Address
Date of Elirth

Date of Arrest

 

 

 

 

Date of Conviction

 

Slgnature

Case 2:18-0v-O4925-l\/|LCF Document 1 Filed 05/16/18 Page 5 of 7

_ ll\ilPORTANT: in the space provided belowl place the full name of each defendant named in the caption, his
or her official position, place of employmentl and service addressl if you have sued more than one
defendant, provide this same information for every defendant you have named. Please attach an additional
sheet, if necessary. The parties listed below must be exactly the same as those listed in your caption.

 

 

 

MQQu€JE>i/v$
B. Defendant § _’JFEJHAJ po€ is employed as EOLiC.E UFF{CEP\
/\f©.fip, at 3”( Di§~r‘/Qic;f`
Address for service: § 3{`~’“¢ pt 5'7"!"’\1 C'L"_ Fo"-i¢£ DGPT`,
C. Defendant § F""*"~' 0 0 5 is employed as AF§ . DJ'ASTA~T'/(,_'

 

 

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Address for service: 5 l di i,,_Jr/l~i fE E>’i`, MQ..- L/l » '7¢9/ (6?

D. Defendant 5 _j;»d N UO€ is employed aség fl r fair €!.;:

 

 

 

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E. Defendant ? FOHPJ 00 €'_n is employed as .__’>_l[“ll E &l FF DE_;f>df"-(

 

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F. Defendant is employed as
at
Address for service:
G. Defendant is employed as
at

 

Address for service:

 

lV. Statement of C|aim

(State here as briefly as possible the facts of your case. Describe how each defendant is invoived.
include also the names of other persons involved, dates, and placesl Do not give any legal
arguments or cite any cases or statutesl if you intend to allege a number of related claimsl number
and set forth each claim in a separate paragraphl Use as much space as you need. Attach extra
sheet if necessary.)

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Case 2:18-0v-O4925-l\/|LCF Document 1 Filed 05/16/18 Page 6 of 7

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Reiief
(State briefly exactly what you want the court to do for you. l\i‘lai<e no legal argumentsl Cite no cases

or statutes.)
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Piaintiff's Declaration

l declare under penalty of perjury that all facts represented in this complaint and any attachments
hereto are true and correct

l understand that ifl am released ortransferred, it is my responsibility to keep the Court informed of
my whereabouts and failure to do so may result in this action being dismissed with prejudice

l understand that l am prohibited from bringing a civil action in forma pauperis ifl have brought three
or more civil actions in a court of the United States while incarcerated or detained in any facility that
were dismissed on the grounds that they were frivolousl malicious or failed to state a claim upon
which relief may be granted, unless l am under imminent danger of serious physical injury.

l understand that even if l am allowed to proceed in forma pauperis, l am responsible for paying the
entire $400.00 filing fee and any costs assessed by the Court, which shall be deducted from my
inmate account by my custodian in installment payments as prescribed by law.

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signedinis <;ZO+ dayor APRIL ,20 /£'>.

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(Signature of Plaintif@’/ f

ifl/2015

Case 2:18-0v-O4925-l\/|LCF Document 1 Filed 05/16/18 Page 7 of 7

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